  Case 5:21-cv-05219-TLB Document 22                 Filed 08/08/22 Page 1 of 3 PageID #: 81




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

JOSHUA DAVID WILSON                                                                     PLAINTIFF

       v.                      Civil No. 5:21-cv-05219-TLB-MEF

DR. ROBERTO SAEZ; and
TURN KEY HEALTHCARE CLINICS, LLC                                                    DEFENDANTS

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       This is a civil rights action filed by the Plaintiff, Joshua D. Wilson (“Wilson”), pursuant to

42 U.S.C. § 1983. Wilson proceeds pro se and in forma pauperis. Pursuant to the provisions of

28 U.S.C. §§ 636(b)(1) and (3), the Honorable Timothy L. Brooks, United States District Judge,

referred this case to the undersigned for the purpose of making a Report and Recommendation.

       The case is before the Court on Defendants’ Second Motion to Dismiss (ECF No. 20) for

failure to prosecute.

                                      I.      DISCUSSION

       When he filed this case, Wilson was specifically advised that he was required to

immediately inform the Court of any change of address. (ECF No. 3). If Wilson was transferred

or released, he was told he must advise the Court of any change in his address no later than thirty

(30) days from the time of his transfer to another facility or his release. Additionally, Rule

5.5(c)(2) of the Local Rules for the Eastern and Western Districts of Arkansas requires pro se

parties to “promptly notify the Clerk and other parties to the proceedings of any change in his or

her address, to monitor the progress of the case, and to prosecute or defend the action diligently.”

       On July 1, 2022, Defendants filed their first Motion to Dismiss (ECF No. 18). In that

Motion, they maintained Wilson failed to provide the Court with an address after he was

                                                 1
  Case 5:21-cv-05219-TLB Document 22                 Filed 08/08/22 Page 2 of 3 PageID #: 82




transferred out of the Benton County Detention Center. As the docket indicated Wilson had

provided a change of address to the Ouachita River Correctional Unit (“ORCU”) of the Arkansas

Division of Correction, the Motion was found to be moot.

       On July 7, 2022, Defendants filed their second Motion to Dismiss (ECF No. 20).        When

they did not receive Wilson’s responses to their initial discovery requests, on June 22, 2022,

Defendants sent a “meet and confer” letter to Wilson along with another copy of the discovery

requests. The letter and accompanying documents were returned as undeliverable along with a

notation that Wilson was no longer at the ORCU.

       The Court entered an Order (ECF No. 21) on July 7, 2022, directing Wilson to respond to

the Motion to Dismiss by July 29, 2022. While the letter has not been returned as undeliverable,

Wilson has not filed a response. He was advised that failure to respond would result in the

dismissal of the case. The Order was not returned as undeliverable.

       As Defendants accurately note, Wilson was the Plaintiff in Wilson v. Turn Key Health

Clinics, LLC., et al., Civil No. 5:21-cv-05115. Wilson’s address listed on the docket sheet was

also the ORCU. The case was dismissed on July 19, 2022, based on Wilson’s failure to keep the

Court apprised of his current address. The Court notes that returned mail was received beginning

May 27, 2022, from the ORCU with notations that Wilson was no longer at the unit.

                                     II.     CONCLUSION

       For these reasons, it is recommended that Defendants’ Motion to Dismiss (ECF No. 20)

be GRANTED and this case be DISMISSED WITHOUT PREJUDICE pursuant to Rule

41(b) of the Federal Rules of Civil Procedure and Rule 5.5(c)(2) of the Local Rules for the Eastern

and Western Districts of Arkansas.


                                                 2
  Case 5:21-cv-05219-TLB Document 22             Filed 08/08/22 Page 3 of 3 PageID #: 83




       The parties have fourteen (14) days from receipt of the Report and Recommendation

in which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file

timely objections may result in waiver of the right to appeal questions of fact. The parties

are reminded that objections must be both timely and specific to trigger de novo review by

the district court.

       DATED this 8th day of August 2022.

                                                   /s/ Mark E. Ford
                                                   HON. MARK E. FORD
                                                   UNITED STATES MAGISTRATE JUDGE




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